Case 2:05-cr-20055-SHI\/| Document 22 Filed 06/08/05 Page 1 of 2 Page|D 23

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 rt g;§ _@ PH 15 oh

 

 

 

WESTERN DIVISION

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UNITED s'rATEs 0F AMERICA "*""'~]' C'"' :N' "'"‘:F":”'H"`

V.

TAVARIS BOOTHE 05cr20055-D

ORDER ON ARRAIGNMENT
This cause came to be heard on (§\;L¢ 4a g § , ZQQS the United States Attorney
for this district appeared on behalf of the g ernment, a d the defendant appeared in person and with
counsel: _

NAMEM.ZZ /1,.`_1§#7 , l ¢%r t 6//'//4,. 4 who is Retained/Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

Of the U.S. Mal‘Shal. M

UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 21:841A=CD.F
CONTROLLED SUBSTANCE » SELL, DISTRIBUTE, OR DISPENSE

Attorney assigned to Case: T. Colthurst

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Thls document entered on the docket heat in ooérnp|ianee
with Rule 55 and/or 32(b) FHC:P on fig ‘ § 'Q 2 192

 

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This notice confirms a copy of the document docketed as number 22 in
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Honorable Bernice Donald
US DISTRICT COURT

